  Case 3:20-cv-00932-JPG Document 9 Filed 01/11/21 Page 1 of 1 Page ID #30




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 COURTNEY A. HAYES, No. 13401-025

                Petitioner,

        v.                                                     Case No. 20-cv-932-JPG

 ERIC WILLIAMS, Warden,

                Respondent.

                                         JUDGMENT

       This matter having come before the Court, and the Court having rendered a decision,

       IT IS HEREBY ORDERED AND ADJUDGED that petitioner Courtney A. Hayes’s

petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2241 is dismissed with prejudice,

that judgment is entered in favor of respondent Warden Eric Williams and against petitioner

Courtney A. Hayes, and that this case is dismissed with prejudice.



DATED: January 11, 2021                      MARGARET M. ROBERTIE, Clerk of Court

                                             s/Tina Gray, Deputy Clerk




Approved:      s/ J. Phil Gilbert
               J. PHIL GILBERT
               DISTRICT JUDGE
